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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION


AUTHER, et al.                                                                    PLAINTIFFS
versus                                                  Civil Action No. 4:18-cv-23-DMB-JMV
MERITOR, INC., et al.                                                           DEFENDANTS

GREEN, et al.                                                                     PLAINTIFFS
versus                                                  Civil Action No. 4:18-cv-24-DMB-JMV
MERITOR, INC., et al.                                                           DEFENDANTS

TURNER, et al.                                                                    PLAINTIFFS
versus                                                  Civil Action No. 4:18-cv-25-DMB-JMV
MERITOR, INC., et al.                                                           DEFENDANTS


                                            ORDER

       On October 14, 2020, the Court held a telephonic status conference with counsel for

Plaintiffs and counsel for defendants Meritor, Inc.; Rockwell Automation, Inc.; and The Boeing

Company (collectively, the “Meritor Defendants”).

       Having heard from counsel for the Plaintiffs and counsel for the Meritor Defendants,

having reviewed the pleadings and procedural history of the litigation, being advised that no

counsel for the parties objects to proceeding with mediation, and to conserve the Court’s and

parties’ resources and time, the Court is of the opinion that an Order directing mediation may

provide the opportunity for a mutually beneficial compromise. Therefore, the Court orders as

follows:

       1.     ORDERED THAT each plaintiff and the Meritor Defendants shall attend a

mediation at an agreed upon date, time, and location in Grenada, Mississippi;

       2.     ORDERED THAT counsel for the Meritor Defendants shall submit a written

report within three business days after the final mediation session (currently scheduled for

December 1, 2020) about the results of mediation;
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       3.     ORDERED THAT counsel for the parties, only after consulting with the CDC,

the Mississippi Department of Health (“MDH”) and local health authorities for up-to-date

guidance and requirements, are directed to implement and reasonably enforce measures to ensure

to the extent possible all participants are safe from potential unnecessary exposure to the

COVID-19 virus during all proceedings. The parties should also implement videoconferencing

and/or teleconferencing for participation where in-person participation poses an unnecessary

COVID risk for any party due to health issues as may be indicated by MDH; and

       4.     ORDERED THAT all deadlines pending pursuant to the current Case

Management Order are suspended and held in abeyance until the Court convenes a status

conference following receipt of the mediation report referenced in paragraph 2. If any claims

remain, the Court shall enter a new Case Management Order resetting applicable deadlines.

       ORDERED AND ADJUDGED, this 16th day of October, 2020.



                                           /s/ Jane M. Virden
                                           UNITED STATES MAGISTRATE JUDGE




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PREPARED BY AND AGREED TO:

/s/ Phillip S. Sykes
Counsel for the Meritor Defendants

AGREED:

/s/ Marquette W. Wolf
Counsel for the Plaintiffs




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